                    Case: 1:12-cv-01185 Document #: 34 Filed: 03/07/14 Page 1 of 8 PageID #:114




                                       UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF ILLINOIS
                                             EASTERN DIVISION
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                          LJ^                                      Assoc'i\{r'tn
                                               PIaintiff(s)


                                                                                        caseNo.     te-C.V' t18S
                                V.


                      Re-5--g;* 'R" F t.' r€^s
                                          Defendant(s)


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             Case: 1:12-cv-01185 Document #: 34 Filed: 03/07/14 Page 2 of 8 PageID #:115

        IN TI.IE ORCUIT COUR T OT UNIT!]IJ S'TA.TES DISTRIC'T COURT I?OR'[IIE NORTI.IISRN DISTRICT OF ILLINOIS
                                                                           EASTERN DIYTSION

         U.S. Ilaok, National Association, as Trustee unde.r the                          Plaintif(s)
         Pooling and Servicing Agreemellt dated as of Febnrary I ,
         2007, GSAMP T'nr"st 2007-NCl, Morrgage Pass-ThLrougl:                               vli.
         Certifi cates, Series 2007-NCI                                                                       Courl No.: l:12-cv-i 185


                                                                                        Deibldant(s)
         Reiirgio R. Flores, Asset Acceplance I-LC, Midland
         Funding LLC yi/i to Aspire Visa, Maria R. Flores
                                   **\.
                r.*/"'-*""*'"

                                                          AFFIDAVIT OF SPECIAL PROCESS SERVER

 ..,' ,. I, Charles Eskra , being first         y swonr on oath depose and state as follows: I am over the age     of   18, not a party to this action,   an{
,'      'gn enrployee or agerrt olFirt          Legal, Inc., a licensedprivate deiec:tive agency, license nunrber I li-001465.

      Tfb.of     Process:


      Defendant to be served: Refuqio R, Ftqres

      ADDRESS WllltRE AffEMP'IED OIt SERVIID: 2t029 Sieqte Drjr:g.-
                                              Crcst Hill. IL.60403

      SERVED the within              named defendaqr     on:   I,2EgLZJ.lg:00!M
      r' suBsTITUTE SERVICE by leaving a copy of this process
                                                                                                                                        :                 .



                                                                                    at his/her usdal place of abodq wirh: Guadalupe Flores
      (Relationship): Daushtel , a person residing tlrerein who is the age of I3 y.us ni rrpwards confirmed G aJfenaant
                                                                                                                              rcsides at ihe
      above address and intormed that person of the contents thsreofard that firrther *uil.d u copy
                                                                                                        ofthis process in a sealed envelope
      witlr postage paid addresscd lo the defendant at his,,trer usual place of abode or: or aboul S/3l2oll.

      THEDESCRIPTION OF THE PERSON WITH WHOM l"HE COPY OF THIS PROC]:SS WAS LE[.'I'IS AS I.OI-LOWS:
      Age: l8 Gendcr:Female Race:Hispanjc Height:5-6 weightl 126-150 Hair:Blqck Byes:Brown

      Additional Commenrs:
      Served daughter Ctradalupe Flores. There are ttuee cars parked in fronl: Ford pick-up with license plale
                                                                                                               Z}4glz,Nissan van with
      license plate 9719670, and Pontiac with license plate A541607.

     Undel pennlties as providcd by Iaw pursuant to Scction l-l 09 of the Illinois Code ofCir"il Procedure, the undersigned
                                                                                                                            certifies that
     the above statements set forth in this instrument are true and correct.

                                United States citizcn, over the age of l8 and mt a pany lo, uor o

                          sworn before,o. on        --f,,'$*l-*01I



                                            OFFICIAL SEAL
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                                    NOTARY PUSLIC .   STArc OF U.INOS
                                     MY COMMISSION EXPIRES:0?/10/16


     Page 1    of   1



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     Case: 1:12-cv-01185 Document #: 34 Filed: 03/07/14 Page 3 of 8 PageID #:116




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   Case: 1:12-cv-01185 Document #: 34 Filed: 03/07/14 Page 4 of 8 PageID #:117
        Case: L:L2-cv-0L185 Document #: 26 Filed: OO|ZL|LS Page 1 of 3 PagelD #:92




                         IN TIIE IINIIED STAIES DISTRICT COURT
                        FOR TH'r NORTHER}I DISTRICT OFILLINOIS
                                     EASTERN DTVISION

U. S.BANK, NATIONAL ASSOCIANON, AS
TRUSTEE UNDER TIIE POOLING A}ID
SERVICINGAGREEMENT DAf,ED AS                  OF    CASE NUMBER:1:12-ov-1185
FEBRUARY I, 2007, GSAI\4P TRUST 2OO7 -
NC I, MORTGAGE PASS.THROUGH
CERNFICA:]ES, SERIES 2OO7.NC 1

                               PLAINTIFF

                         vs.                        DISTRICTJUDGE: Charles R Norgle, Sr.

REFUGIO R FLORES, ASSET                             MAGISTRAIE JUDGE: Jeftey T. Gilbert
ACCEPTANCE LLC, MIDLA}ID FUNDING
LLC S/I/I TO ASPIRE VISA,

                                DEFENDANT(S).

                                                ORDER

       THIS CAUSE comes to be heard on Plaintiffs motion forthe entry of an Order
Approving the Report of Sate and Distribution, conlinning the sale ofthe pr,emises, vihich are
the subject of the matter captioned above and described as:

LOT    IN RENAISSA}ICE CROSSING LINIT 1, BEING A STIBDIVISION OF T}IE EAST
        117
ID   OF NTT WPSTID OF TTIE SOUIIIEAST 1/4 OF SECTION 19, TOWNSHIP 36 NORTI{,
RA}{GE 10, EAST OF TIIE THIRD PRINCIPAL MERIDIAN, ACCORDING TO TIIE PLAT
T}IEREOF RECORDED JULY 3O,2OO4,AS DOCIJMENTNO. R2004.141106, IN WILL
COUNTY, ILLINOIS.

Commonly known as2l029 Siegle Drive, Crest Hill, IL 60435
Property Index No.
               1 I -04-1 9-408-01 2-0000



       Due notice of said motion having been given, the Court having examined said report and
being fully advised in the premises, FINDS:

         that personal service was had against   the Borrower Defendan(s), Refugio    R   Flores;

       That the real property that is the subject matter of the instant proceeding is a single family
residence;

          That all notices required   W 735ILCS 5/15-1507(c) were given;
          That said sale was fairly and properly made;




                                                                 */
                                                           B >/s
  Case: 1:12-cv-01185 Document #: 34 Filed: 03/07/14 Page 5 of 8 PageID #:118

       Case: L:L2-cv-OL185 Document #: L7 Filed: O6l22lL2 Page 1 of L PagelD #:64




                      IN THE UMTED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

U.S. Banh National Association, as Trustee under
the Pooling and Servicing Agreement dated as of
February 1,2007, GSAMP Trust     2007-NC1,           CASE NUMBER: 1:12-cv-1185
Mortgage Pass-Through Certifi cates, Series 2007 -
NCI,
                            PLAINTIFF

                        VS.                          DISTzuCT JUDGE: Chades R. Norgle, Sr.

Refugio R Flores, AssetAcceptance LLC, Midland MAGISTRATE JUDGE: Jeffrey T. Gilbert
Funding LLC slilitoAspire Visa,
                            DEFENDANT(S).

                                            ORDER

      THIS CAUSE coming on to be heard on motion of the Plaintiffof an Order, pursuant to a
Judgment of Foreclosure and Order of Sale entered in this matter, appointing a Special
Commissioner pursuant to 735ILCS 5/15-1506(I) and 28 U.S.C. 92001(a);

          IT IS HEREBY ORDERED that The Judicial      Sales Corporation is hereby appointed
Special Commissioner for the purpose of the sale at public auction ofthe property that is the
subject mafter of this action, pursuant to a Judgment of Foreclosure and Order of Sale entered
herein.


Dated:       Lfi
                   1 ,^                               WA,a,t4-;Z'
                                                            Judge


James N. Pappas #6291873
Burke Costanza & Cmberry LLP
Attorneys for Plaintiff
225 W. Washington St, Suite 2200
Chicago, Illinois 60606
Qtg)76e-1313




                                                       B%
   Case: 1:12-cv-01185 Document #: 34 Filed: 03/07/14 Page 6 of 8 PageID #:119
        Case: L:L2-cv-OL185 Document #: L6 Filed: O6l22lL2 Page 1 of        1-   PagelD   #:63    UV


                      IN TI{E UNITED STATES DISTRICT COT'RT
                    F'OR THE NORTIIERN DISTRICT OT             ILLINOIS
                                   EASTERN DIVISION

U.S. Banlq National Association, as Trustee under
the Pooling and Servicing Agrcement dated as of
February l,2oo7,GSAMPTrust      2007-NCl,           CASE NUMBER: l:12-cv-1185
Mortgage Pass-Through Certificates, Series 2007 -
NCI,
                          PLAINTIFF

                       VS.                          DISTRICTJUDGE: Charles R. Norgle,       Sr.


Refugio R. Flores, AssetAcceptance LLC, Midland MAGISTRATE JUDGE: Jeftey T. Gilbert
Funding LLC slli to Aspire Visa,
                             DEFENDANT(S).

                                   ORDER OF DEFAULT

        THIS CAUSE coming on to be heard on motion of the Plaintifffor an Order of Default
against the Defendant(s), Refugio R. Flores, Asset Acceptance LLC, Midland Funding LLC slili
to Aspire Visa, due notice having been given and the Court being fully advised in the premises,

        IT IS IIEREBY ORDERED THAT:

       An Order of Default is hereby entered against the Defendant(s), Refugio R. Flores, Asset
Acceptance LLC, Midland Funding LLC s/ili to Aspire Visq for their failure to Answer or
otherwise plead to the Plaintiff s Complaint and the PlaintifPs Complaint is hereby taken as


;;,-W"a ,,n"u,WWW
confessed against each of them.




James   N. Pappas #6291873
Burke Costanza   & Carberry LLP
Attorneys for Plaintiff
225 W. Washington St, Suite 2200
Chicago, Illinois 60606
Q19)769-t313




                                                     B%
Case: 1:12-cv-01185 Document #: 34 Filed: 03/07/14 Page 7 of 8 PageID #:120
 Case: L:12-cv-01185 Document #: 31 Filed: O3l06lL4 Page 1 of L PagelD #:109

                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois - CIOECF LM, Ver 6,L
                               Eastern Division


U.S. Bank, National Association
                                          Plaintiff,
v.                                                      Case No.:  12-cv-01 185
                                                                    1:

                                                        Honorable Charles R. Norgle Sr.
Refugio R Flores, et al.
                                          Defendant.



                           NOTIFICATION OF DOCKET ENTRY


This docket entry was made by the Clerk on Thursday, March 6,2014:


        MINUTE entry before the Honorable Charles R. Norgle: Plaintiffs Motion for
Order Approving Report of Sale and Distribution and Possession [29] is granted. The
parties are not required to appear on Friday, March 7,2014. Mailed notice(ewf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule a9@) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov .




                                                 E     Ys
 Case: 1:12-cv-01185 Document #: 34 Filed: 03/07/14 Page 8 of 8 PageID #:121

    Case: t:L2-cv-0L185 Document #: 18 Filed: OGl22lL2 Page 1 of 9 PagelD #:65
                                                                                                          &f-t-
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF'ILLINOIS
                                  EASTERN DIVISION

U.S. Bank, National Assooiation, as Trustee under
the Pooling and Servicing Agreement dated as of
February l, 2007,CSAMP Trust       2007-NCl,           CASE NUMBER: 1:12-cv-1I85
Mortgage Pass-Through Cedficate s, S eri es 2007 -
NCI,
                              PLAINTIFF

                         VS.                           DISTRICT JUDGE: Charles R. Norgle, Sr.

Refugio R. Flores, AssetAcceptance LLC, Midland MAGISTRATE JUDGE: Jeftey T. Gilbert
Funding LLC sltli toAspire Vis4
                                DEFENDANT(S).

                               JUpGMENT OF FORECLOSURE

       THIS CAUSE coming on to be heard on PlaintifPs Motion for Default Judgment, the
Court HEREBY FINDS:

   1. The court has jurisdiction   of the parties and the subject matter, and service of process has
        been properly made.

   2,   Pursuant to Federal Rule of   Civil Procedure 54(b), this judgment is a final and appealable
        order.

   3.   The last o\fiter of redemption was served on May 2,2012.

   4.   The statutory right to reinstate, pursuant to 735 ILCS   5/1 5- l   602, shall expire August 2,
        2012.

   5.   The statutory right of redemprion, pursuant to735ILCS 5i r5-1603, shall expire
        December 2,2012, unlbss shortened by f'urther order of the court.

         This judgrnent is fully dispositive of the interest of alt Defendants. All the material
         allegations of the Complaint filed pursuant to 735ILCS 5/15-1504 (including those
         required by statute, ars true and proven. By enky of this Judgment for Foreclosure and
         sale, the Mortgage and Note which is the subject matter of these proceedings is
         extinguished and replaced by Judgment. By virtue of the Mortgage and thJevidence of
         the indebtedness secured by it, of the date and execution of Plaintif,Ps supporting
        judgment affrdavit, there is due and owing to plaintiff by the Defena*(rl, Refugio
                                                                                                 R.
         Flores, and unto all and every Successor or Successors in Trust Under said Declaration of
         Trust,-the following amounts which shall continue to be a valid and subsisting lien upon
        the subject property described hereinafter.




                                                                  ,/=
                                      E>cHlBrf           B
